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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   AKOUSTIS   TECHNOLOGIES,   INC.,
   AKOUSTIS,     INC.,    CORNELL
   UNIVERSITY     AND     CORNELL
   RESEARCH FOUNDATION, INC.,                        Case No. 2:23-cv-00180

   Plaintiffs,                                       JURY TRIAL DEMANDED

   v.

   QORVO, INC.,

   Defendant.


                                              ORDER

            Before the Court is Defendant’s Motion to Dismiss Plaintiffs’ Amended Complaint.

    After review and consideration thereof, the Court ORDERS that the Motion to Dismiss is hereby

    GRANTED. Plaintiffs’ Amended Complaint is dismissed with prejudice.

            IT IS SO ORDERED.



    SIGNED this _________ of _____________.
